1
     SUSANNE C. KOSKI, State Bar No. 176555
     CARMELA E. DUKE, State Bar No. 270348
2    Superior Court of California, County of San Diego
3    1100 Union Street
     San Diego, California 92101
4
     Telephone: (619) 844-2382
5
     Attorneys for Defendants The Honorable
6
     Patti C. Ratekin, Retired Commissioner of the Superior Court
7    of California, County of San Diego, The Honorable
     Lorna A. Alksne, Retired Judge of the Superior Court of
8
     California, County of San Diego, and The Honorable David J.
9    Danielsen, Retired Judge of the Superior Court of California,
10
     County of San Diego

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12                                UNITED STATES DISTRICT COURT
13                             SOUTHERN DISTRICT OF CALIFORNIA
14
     ROBERT EMERT,               )                         Case No. 23cv0230-RSH-AHG
15                               )
                                 )
16            Plaintiff,         )
                                 )                         DECLARATION OF CARMELA E.
17                               )                         DUKE IN SUPPORT OF DEFENDANTS
          v.                     )                         COMMISSIONER PATTI C. RATEKIN,
18                               )
                                 )                         JUDGE LORNA A. ALKSNE, AND
19   LUIS VENA; ANDREA SCHUCK;   )                         JUDGE DAVID J. DANIELSEN’S
     MATTHEW W. CORD; PATTI C.   )
20                               )                         MOTION TO DISMISS PLAINTIFF’S
     RATEKIN; DAVID S. SCHULMAN; )                         COMPLAINT WITH PREJUDICE
21   LORNA A. ALKSNE; DAVID J.   )
22
     DANIELSEN; MOORE, SCHULMAN ))                         Date: April 7, 2023
     & MOORE; ROBERT OLAGUE,     )                         Crtrm: 3B (Schwartz)
23   AND DOES 1-20 inclusive,    )
                                 )                         Judge: The Honorable Robert S. Huie
24                               )
              Defendants.        )
25                               )                         PER CHAMBERS RULES, NO ORAL
                                 )                         ARGUMENT UNLESS SEPARATELY
26                               )
                                 )                         ORDERED BY THE COURT
27                               )
                                 )
28



     _________________________________________________________________________________________________________________
                                 DECLARATION OF CARMELA E. DUKE
                                                                                                    23cv0230
1           I, CARMELA E. DUKE, declare as follows:
2           1.      I am licensed to practice law in the State of California and employed as a
3    litigation attorney by the Superior Court of California, County of San Diego. I represent
4    Defendants the Honorable Patti C. Ratekin, Retired Commissioner of the Superior Court,
5    County of San Diego (“Commissioner Ratekin”), the Honorable Lorna A. Alksne, Retired
6    Judge of the Superior Court of California, County of San Diego (“Judge Alksne”), and the
7    Honorable David J. Danielsen, Retired Judge of the Superior Court of California, County
8    of San Diego (“Judge Danielsen”) (hereinafter collectively “Judicial Defendants”), in the
9    above-captioned matter.
10          2.      I have personal knowledge of the matters stated herein and, if called as a
11   witness, would competently testify thereto.
12          3.      The following documents, which are attached to Judicial Defendants’ Request
13   for Judicial Notice in Support of the Motion to Dismiss Plaintiff’s Complaint with
14   Prejudice, are true and correct copies of the documents below. Pages of the exhibits with
15   private and/or sensitive information of the relevant portions of superior court case records
16   have been redacted.
17
            Exhibit A: Minutes of the Family Court, Andrea Emert v. Robert Emert,
18
                       Superior Court of California, County of San Diego (“SDSC”), Case
19                     No. 19FL010852N, filed February 25, 2021;
20
            Exhibit B: Minutes of the Family Court, Andrea Emert v. Robert Emert, SDSC
21                     Case No. 19FL010852N, filed October 4, 2021;
22
            Exhibit C: Docket, Robert Anthony Emert v. Commissioner Patti C. Ratekin,
23
                       United States District Court, Southern District of California, Case
24                     No. 21-cv-01570-BTM-AHG;
25
            Exhibit D: Complaint, Robert Anthony Emert v. Commissioner Patti C.
26                     Ratekin, United States District Court, Southern District of
27                     California, Case No. 21-cv-01570-BTM-AHG, filed September 7,
                       2021;
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                                      DECLARATION OF CARMELA E. DUKE - 2
                                                                                                          23cv0230
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            Exhibit E:      Order Granting Motion to Proceed in Forma Pauperis and
                            Dismissing Case with Prejudice, Robert Anthony Emert v.
2                           Commissioner Patti C. Ratekin, United States District Court,
3                           Southern District of California, Case No. 21-cv-01570-BTM-AHG,
                            filed September 22, 2021;
4

5           Exhibit F:      Minute Order, Andrea Emert v. Robert Emert, SDSC Case No.
6
                            19FL010852N, filed October 5, 2021;

7           Exhibit G: Minute Order, Andrea Emert v. Robert Emert, SDSC Case No.
8                      19FL010852N, filed November 29, 2021;
9
            Exhibit H: Case Summary and Docket (Register of Actions) of the Appeal
10                     Emert v. Emert, Court of Appeal, 4th Appellate District, Division
                       1, Case No. D079955;
11

12          Exhibit I:      Notice of Case Reassignment, Andrea Emert v. Robert Emert,
13                          SDSC Case No. 19FL010852N, dated February 22, 2022;
14
            Exhibit J:      Register of Actions, Andrea Emert v. Robert Emert, SDSC Case
15                          No. 19FL010852N;
16
            Exhibit K: Complaint- Felony, People of the State of California v. Robert
17                     Anthony Emert, SDSC Case No. CD297230, filed January 4, 2023;
18
            Exhibit L:      Misdemeanor/Felony – Pre-Disposition Minutes, People of the
19                          State of California v. Robert Anthony Emert, SDSC Case No.
20                          CD297230, filed January 6, 2023;
21
            Exhibit M: Misdemeanor/Felony – Pre-Disposition Minutes, People of the
22                     State of California v. Robert Anthony Emert, SDSC Case No.
23
                       CD297230, filed January 11, 2023 and Misdemeanor/Felony – Pre-
                       Disposition Minutes, People of the State of California v. Robert
24                     Anthony Emert, SDSC Case No. CD297230, filed January 13, 2023;
25
            Exhibit N: Preliminary Examination Minutes, People of the State of California
26
                       v. Robert Anthony Emert, SDSC Case No. CD297230, filed
27                     February 10, 2023; and
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                                      DECLARATION OF CARMELA E. DUKE - 3
                                                                                                          23cv0230
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            Exhibit O: “Motion to reconsider, Section 1008 of Code of Civil Procedure,”
                       Andrea Emert v. Robert Emert, SDSC Case No. 19FL010852N,
2                      filed November 21, 2022 and “Motion to reconsider,” Andrea
3                      Emert v. Robert Emert, SDSC Case No. 19FL010852N, filed
                       December 21, 2022.
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                                                    SUSANNE C. KOSKI
7
                                                    Superior Court of California, County of San Diego
8    DATED:
9                                                   By: __s/ Carmela E. Duke          _________
     March 3, 2023                                      CARMELA E. DUKE
10
                                                    Attorneys for Defendants The Honorable Patti C.
11                                                  Ratekin, Retired Commissioner of the Superior
                                                    Court of California, the Honorable Lorna A.
12
                                                    Alksne, Retired Judge of the Superior Court,
13                                                  County of San Diego, and the Honorable David J.
14                                                  Danielsen, Retired Judge of the Superior Court of
                                                    California, County of San Diego
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                                      DECLARATION OF CARMELA E. DUKE - 4
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